Case 16-21912-EPK Doc65 Filed 12/09/20 Page 1 of 2

Fill in this information to identify the case:

Debtor 1 _LUIS JAVIER REATEGUI

 

Debtor 2 N/A
(Spouse, if filing)

United States Bankruptcy Court for the Southern District of Florida
Case number _16-21912-EPK

Official Form 410S1 (as modified for Condominium Association’s assessment payments)
Notice of Condominium Association Payment Change 12/15

If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security
interest in the debtor's principal residence, you must use this form to give notice of any changes in the installment payment
amount. File this form as a supplement to your proof of claim at least 21 days before the new payment amount is due. See

Bankruptcy Rule 3002.1.

Name of creditor: KENSINGTON GARDENS Court claim no. (if known): 2
CONDOMINIUM ASSOCIATION, INC.

Last 4 digits of any number you use to Date of payment change:
identify debtor's account: 1550 Must be 21 days after date 01/01/2021
Of this notice

New total payment: $340.00
Principal, interest and escrow, if any

__ EMG Escrow Account Payment Adjustment

4. Will there be a change in the debtor’s escrow account payment?
_X_No
Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable
nonbankruptcy law. Describe the basis for the change. If a statement is not attached, explain why:

 

Current escrow payment: $ New escrow payment: $

| Giese Mortgage Payment Adjustment

2. Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the
debtor's variable-rate account?

 

_X_No

___ Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law.
If a notice is not attached, explain why:
Current interest rate: % New interest rate: %

Current principal and interest payment: $ New principal and interest payment: $

| EEA Other Payment Change
3. Will there be a change in the debtor’s assessment payment for a reason not listed above?

No
Xx. Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan

modification agreement. (Court approval may be required before the payment change can take effect.)

Reason for change: Change in annual budget for KENSINGTON GARDENS CONDOMINIUM ASSOCIATION,
INC..

Current monthly assessment payment: $ _$324.00
New monthly assessment payment: $ _ $340.00

 

Official Form 410S1 (as Modified) Notice of Condominium Association Payment Change

nann 4A
Case 16-21912-EPK Doc65 Filed 12/09/20 Page 2 of 2

Debtor 1__ LUIS JAVIER REATEGUI Case number (if known) 16-21912-EPK
First Name Middle Name Last Name

Part 4: Sign Here

The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address
and telephone number.

Check the appropriate box.
____| am the creditor.

_X_ lam the creditor's authorized agent.

| declare under penalty of perjury that the information provided in this claim is true and correct to the best of

my uy © ang-refsonable belief.
x LHWO_[2 sate (24-20

 

 

Signature
Print: _ Robert B. Burr, Esquire Title _ Attorney
First Name Middle Name Last Name

Company__ Rossin & Burr, PLLC

Address 1550 Southern Biva., Suite 100

 

 

 

 

Number Street
West Palm Beach FL 33406
City State ZIP Code
Contact phone __ 561-655-8994 Email RBB@rossinburrlaw.com

waan tn

Official Form 41081 (as Modified) Notice of Condominium Association Payment Change
